       Case 5:24-cv-03567-NW            Document 114     Filed 06/24/25    Page 1 of 8



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15                                                     Additional Counsel for Defendants listed on
                                                       signature page
16

17                         IN THE UNITED STATES DISTRICT COURT
18                          NORTHERN DISTRICT OF CALIFORNIA
                                     SAN JOSE DIVISION
19
                                                        Case No. 5:24-cv-03567-NW
20
      Teva Pharmaceuticals USA, Inc.,                   JOINT REQUEST TO SET A CASE
21
                                                        MANAGEMENT CONFERENCE
22                  Plaintiff,
                                                        Ctrm:    3 – 5th Floor
23          v.                                          Judge:   Honorable Noël Wise
24    Corcept Therapeutics, Inc., and Optime Care
      Inc.,
25
                    Defendants.
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     [JOINT] REQUEST TO SET A CASE MANAGEMENT CONFERENCE / CASE NO. 5:24-cv-03567-NW
        Case 5:24-cv-03567-NW            Document 114          Filed 06/24/25     Page 2 of 8



 1            Pursuant to Civil Local Rule 7-11, Plaintiff Teva Pharmaceuticals USA, Inc. (“Teva”),
 2   Defendant Corcept Therapeutics, Inc. (“Corcept”), and Defendant Optime Care Inc. (“Optime”)
 3   (together “Parties”) respectfully request that the Court set a date for a case management conference in
 4   this matter.
 5            Teva sued Corcept and Optime on June 13, 2024, bringing claims under the federal antitrust
 6   laws and factually related state law claims. Dkt. 1. Teva filed its operative First Amended Complaint
 7   on September 13, 2024. Dkt. 39. Defendants sought a stay of discovery on September 26, 2024,
 8   which the Court denied on December 4, 2024. Dkt. 69. Defendants moved to dismiss Teva’s claims
 9   on October 14, 2024. Dkt. 55, 65, 68. A hearing on Defendants’ Motion to Dismiss is set for July 17,
10   2025. Dkt. 112.
11            Judge Freeman previously set certain deadlines, including the following dates:
12                          Event                                                Date
13    Last Day to Hear Dispositive Motions                   8/13/2026 at 9:00 AM
14    Final Pretrial Conference                              12/10/2026 at 1:30 PM
15    Trial                                                  1/11/2027 and 9:00 AM
16   Dkt. 63. Judge Freeman directed the parties to confer regarding other dates and deadlines. Dkt. 63.
17   The parties did so and filed their proposal. Dkt. 67. Following reassignment to this Court, on February
18   24, 2025, all future hearing dates were vacated, but the trial and pretrial conference dates and all other
19   deadlines remained in place. Dkt. 81. On March 3, 2017 the Parties filed a Joint Case Management
20   Statement, including the Parties’ proposed schedule. Dkt. 89.
21            There are currently no deadlines set in this case other than the three dates listed above. The
22   Parties respectfully request that the Court schedule a Case Management Conference to confirm
23   whether the dates listed above that were previously set by Judge Freeman are workable for the Court,
24   and to set interim deadlines to ensure that the case proceeds efficiently towards trial. The Parties
25   further request that the Court order the Parties to meet and confer and file a Joint Case Management
26   Statement 14 days prior to the scheduled conference, pursuant to the Court’s Standing Order for All
27   Civil Cases, setting forth the Parties’ respective proposals for interim deadlines leading up to trial on
28   January 11, 2027. Teva respectfully requests that the Court set the Case Management Conference as

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      [JOINT] REQUEST TO SET A CASE MANAGEMENT CONFERENCE / CASE NO. 5:24-cv-03567-NW
        Case 5:24-cv-03567-NW           Document 114        Filed 06/24/25      Page 3 of 8



 1   soon as practicable. Defendants respectfully suggest that for the benefit of the Court and the Parties,
 2   the Case Management Conference be set for July 17, 2025 to coincide with the hearing on Defendants’
 3   Motion to Dismiss, but are agreeable to an alternate date if that is more convenient for the Court.
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      [JOINT] REQUEST TO SET A CASE MANAGEMENT CONFERENCE / CASE NO. 5:24-cv-03567-NW
       Case 5:24-cv-03567-NW   Document 114      Filed 06/24/25        Page 4 of 8



 1    Dated: June 24, 2025         Respectfully submitted,
 2

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     [JOINT] REQUEST TO SET A CASE MANAGEMENT CONFERENCE / CASE NO. 5:24-cv-03567-NW
       Case 5:24-cv-03567-NW   Document 114      Filed 06/24/25    Page 5 of 8



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     [JOINT] REQUEST TO SET A CASE MANAGEMENT CONFERENCE / CASE NO. 5:24-cv-03567-NW
        Case 5:24-cv-03567-NW        Document 114       Filed 06/24/25     Page 6 of 8



 1   PURSUANT TO STIPULATION, IT IS SO ORDERED,

 2         The Court sets a case management conference in this matter on __________________, 2025. The

 3   Parties are further ordered to meet and confer and file a joint case management statement on

 4   __________________, 2025.

 5
     IT IS SO ORDERED.
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 7    Dated:
                                                        The Hon. Noël Wise
 8
                                                        United States District Judge
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     [JOINT] REQUEST TO SET A CASE MANAGEMENT CONFERENCE / CASE NO. 5:24-cv-03567-NW
        Case 5:24-cv-03567-NW           Document 114          Filed 06/24/25      Page 7 of 8



 1                                        FILER’S ATTESTATION
 2          Pursuant to Civil L.R. 5-1(i)(3), regarding signatures, I, Michael Shipley, attest that
 3   concurrence in the filing of this document has been obtained.
 4

 5
                                                            /s/ Michael Shipley
 6
                                                            Michael Shipley
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      [JOINT] REQUEST TO SET A CASE MANAGEMENT CONFERENCE / CASE NO. 5:24-cv-03567-NW
        Case 5:24-cv-03567-NW            Document 114           Filed 06/24/25      Page 8 of 8



 1                                       CERTIFICATE OF SERVICE
 2
            I hereby certify that on June 24, 2025, I caused to be filed the foregoing document with the
 3
     United States District Court for the Northern District of California using the CM/ECF system and
 4
     caused it to be served on all registered participants via notice of electronic filing.
 5

 6
                                                              /s/ Michael Shipley
 7                                                            Michael Shipley
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      [JOINT] REQUEST TO SET A CASE MANAGEMENT CONFERENCE / CASE NO. 5:24-cv-03567-NW
